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                 EXHIBIT 7
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   SENT VIA EMAIL ONLY (to emead@mhw-law.com, cbeall@mhw-law.com,
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            Re: Dorworth v. Greenberg, et al., Case No. 23-cv-00871

   Dear Messrs. Mead, Beall and Andrade,

           We challenge the confidentiality designations of Ms. Dorworth’s deposition transcript
   based on the judge's admonition regarding confidentiality designations at hearing held on August
   7, 2024. Specifically, because Ms. Dorworth’s deposition will eventually be filed in the record in
   full, we think it will be prudent for Plaintiff to affirmatively seek relief designating those portions
   of the transcript, which will affect any sealing relief that will need to be sought. Pursuant to
   paragraph 15 of the “Confidentiality Agreement Governing Lawsuit” agreed to in this case, you
   have ten days to file your motion to maintain confidential protection of these documents.

                                                          Sincerely,



                                                          Frederick S. Wermuth
   FSW/mh
   cc:  all record counsel
